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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

                             CASE NO.: 1:22-cv-03039-STV

JOHN MEGGS,

       Plaintiff,

v.

SCHREIVOGEL INVESTMENTS LLC
and EL TAPATIO ALAMEDA, INC.
D/B/A EL TAPATIO MEXICAN RESTAURANT,

       Defendants.


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


     Plaintiff, JOHN MEGGS, and Defendant EL TAPATIO ALAMEDA, INC., D/B/A EL

TAPATIO MEXICAN RESTAURANT, hereby advise the Court that the parties have

reached an agreement and have globally settled the instant case. Plaintiff and

Defendant, by and through undersigned counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), hereby STIPULATE AND AGREE that this matter has been

settled and to the immediate dismissal of this action with prejudice, with each party to

bear its own attorney’s fees and costs except as indicated in the settlement agreement.

STIPULATED AND AGREED by Counsel for the Parties on the dates below written.
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Respectfully submitted on November 9, 2023.

 /s/ Anthony J. Perez                      /s/ Stephen B. Rotter
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 Attorney for Plaintiff                    Attorney for Defendant




                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

the Court's electronic filing system upon all parties of record on November 9, 2023.


                                                GARCIA-MENOCAL & PEREZ, P.L.
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                                                By:     /s/ Anthony J. Perez
                                                       ANTHONY J. PEREZ




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